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 UNITED STATES DISTRICT COURT                 without prejudice. See Doc. 4. This Court
 SOUTHERN DISTRICT OF GEORGIA                 adopted the R&R. See Doc. 10.
     STATESBORO DIVISION
                                                  The Magistrate Judge subsequently
BOB AARON MIKELL,                             reopened the case. See Doc. 15. On January
                                              26, 2011, the Magistrate Judge issued an
Petitioner,                                   R&R recommending that Mikell’s motion
                                              for reconsideration and his renewed § 2255
v.                   6:09-cv-65               motion should both be denied on substantive
                                              grounds. See Doc. 35 at 20. The Magistrate
UNITED STATES OF AMERICA,
                                              Judge dismissed as meritless Mikell’s
Respondent.                                   various claims, which the Magistrate Judge
                                              grouped under three general categories: (1)
                 ORDER                        claims of ineffective assistance of counsel;
I.     INTRODUCTION                           (2) claims that the Court should act as if the
                                              state habeas court had vacated his
   Before the Court is Petitioner Bob Aaron
                                              underlying state convictions; and (3) defects
Mikell’s (“Mikell”) “Motion for Relief from
                                              in the actual guilty plea and sentencing
Judgment or Order Pursuant to Federal Rule
                                              procedures. See Doc. 35 at 3-4.
of Civil Procedure, R. 60(b)(2)(3)(5).” See
Doc. 54.                                         This Court adopted the R&R over
                                              Mikell’s objections. See Docs. 41; 43.
II.    BACKGROUND
    Mikell pled guilty to conspiracy to           Mikell filed a Rule 60(b) motion to
possess with intent to distribute cocaine     reconsider the Court’s denial of habeas
hydrochloride and cocaine base. See United    relief. See Doc. 45. This Court denied the
States v. Pinkston et al., No. 6:06-cr-26,    motion. See Doc. 47. The Court construed
Doc. 702 (S.D. Ga. Jan. 9, 2008). He          the motion as a successive habeas petition
cooperated with the Government and            and concluded that because Mikell had not
received a reduced, 132-month sentence,       received permission to file the “successive
then unsuccessfully appealed on sentencing-   petition,” the Court lacked jurisdiction to
unreasonableness grounds. Id. at 2; id.,      consider his arguments. See id. at 2.
Docs. 751 at 37-38; 839; United States v.         Mikell appealed this Court’s denial of
Mikell, 284 F. App’x 707 (1 1th Cir. 2008).   habeas relief. See Doc. 48. The Eleventh
    On September 8, 2009, Mikell filed a §    Circuit denied Mikell’s motion for
2255 motion to vacate his federal sentence.   Certificate of Appealability (“COA”). See
See Doc. 1. The Magistrate Judge, however,    Doc. 53. The Circuit remarked that Mikell’s
considered the motion not ripe for            “guilty plea was knowing and voluntary, his
adjudication and issued a Report and          counsel rendered effective assistance,” and
Recommendation (“R&R”) recommending           his other claims under Miranda and the
that the Court dismiss Mikell’s motion
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Fourth Amendment were procedurally                       A petitioner is not making a habeas
barred. See id. at 2.                                corpus claim, however, when the petitioner
                                                     alleges “some defect in the integrity of the
III. ANALYSIS
                                                     federal habeas proceedings” or “when he
    Currently before the Court is Mikell’s           merely asserts that a previous ruling which
motion for relief from judgment pursuant to          precluded a merits determination was in
Federal Rules of Civil Procedure                     error—for example, a denial for such
60(b)(2),(3), and (5). See Doc. 54. The              reasons as failure to exhaust, procedural
Government has filed a response, arguing             default, or statute-of-limitations bar.”
that most of Mikell’s claims in his motion           Gonzalez v. Crosby, 545 U.S. 524, 532 &
must be raised in a properly authorized              n.4 (2005).
successive habeas motion and regardless,
                                                         In order for Mikell to properly file a
none of the claims establish entitlement to
relief under Rule 60(b). See Doc. 61 at 10-          second or successive § 2255 motion, he
                                                     must first obtain permission to do so from
23.
                                                     the Eleventh Circuit Court of Appeals. See
         On motion and just terms, the               28 U.S.C. § 2244; id. § 2255(h).
   court may relieve a party or its legal
                                                         Mikell argues that newly-discovered
   representative from a final judgment,
                                                     records from his 1997 state court conviction
   order, or proceeding for the
                                                     demonstrate that he went unrepresented
   following reasons: . . . (2) newly
   discovered evidence . . . (3) fraud . . .         during critical stages of the proceedings.
   misrepresentation, or misconduct by               See Doc. 54 at 5-7, 10-15. The Magistrate
   an opposing party; [or] (5) the                   Judge accepted “the state habeas court’s
                                                     factual findings and legal conclusions -- that
   judgment has been satisfied,
                                                     Mikell was represented for his 1994
   released, or discharged; it is based on
                                                     conviction, voluntarily and knowingly pled
   an earlier judgment that has been
                                                     guilty on it, and suffered no due process
   reversed or vacated; or applying it
                                                     violation as a result of it . . .; also, he validly
   prospectively is no longer equitable .
   . . .”                                            waived his right to counsel, and thus
                                                     knowingly and voluntarily pled guilty on his
FED. R. C IV. P. 60(b)(2), (3), (5).                 1997 conviction.” See Doc. 35 at 18-19.
    A motion for reconsideration is to be            This Court adopted the same view. See Doc.
treated as a successive habeas petition if it:       43.
“(1) seeks to add a new ground of relief; or             Mikell’s attempt to proffer new evidence
(2) attacks the federal court’s previous             in support of his claim for habeas relief
resolution of a claim on the merits.”                constitutes a successive habeas petition.
Williams v. Chatham, 510 F.3d 1290, 1293-            Chatham, 510 F.3d at 1294 (finding that a
94 (11 th Cir. 2007) (internal quotations            Rule 60(b) motion based on “allegedly
omitted).                                            newly-discovered evidence” is a “merits
                                                     related claim[]” and thus is “part of a

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successive petition”); see also Gonzalez, 545       this argument. See Zakrzewski v.
U.S. at 531. Thus, the Court lacks subject          McDonough, 490 F.3d 1264, 1266 (1 1th Cir.
matter jurisdiction to entertain Mikell’s           2007) (recognizing that allegations of “fraud
argument regarding newly-discovered                 on the court” could be raised in a subsequent
evidence.                                           Rule 60(b) motion).
    Mikell also argues that due to an alleged           “To obtain relief from a final
change and clarification in the law, his 1994          judgment based upon fraud under
conviction for the sale of cocaine no longer           Rule 60(b)(3), the moving party must
qualifies as a controlled substance offense.           prove by clear and convincing
See Doc. 54 at 15-19. Moreover, Mikell                 evidence that the adverse party
proffers that, due to a “clarification of the          obtained the verdict through fraud,
law,” his 1997 drug distribution conviction            misrepresentations, or other
is invalid. See id. at 19.                             misconduct. The moving party must
                                                       also demonstrate that the conduct
    Rule 60(b) motions alleging changes in
                                                       prevented them from fully presenting
the law justifying relief constitute
                                                       his case.”
impermissible successive habeas petitions.
See Murphy v. United States, 438 F. App’x           Waddell v. Hendry Cnty. Sheriff’s Office,
818, 819-20 (11th Cir. 2011) (determining           329 F.3d 1300, 1309 (11th Cir. 2003)
that “changes in the law” must be raised in a       (citation omitted).
second or successive § 2255 motion); United
                                                        Mikell does not demonstrate how any of
States v. Martinez, 338 F. App’x 846, 846-          the statements are in fact false or how the
47 (11 th Cir. 2009); see also Gonzalez, 545        Court relied on such statements in its denial
U.S. at 531-32. Therefore, the Court does           of his § 2255 petition. Nor does he explain
not have jurisdiction to consider Mikell’s          how these statements prevented him from
unauthorized arguments regarding changes            fully presenting or arguing his case.
or clarifications in the law. Moreover, the
Court does not have jurisdiction to consider           Mikell has not come close to
new grounds of relief or old arguments re-          demonstrating entitlement to relief from the
packaged in his Rule 60(b) motion.                  Court’s order based on the allegedly
Chatham, 510 F.3d at 1293-94.                       fraudulent misrepresentations. His
                                                    argument that the Government obtained
    Finally, Mikell avers that the                  dismissal of his petition through fraud is
Government made ten fraudulent                      DENIED as meritless.
misrepresentations about his 1994 and 1997
convictions in its response to his § 2255           IV. CONCLUSION
motion. See Doc. 54 at 8-9; see also Doc.              Mikell’s “Motion for Relief from
17 at 22-23. This argument alleges a “defect        Judgment or Order Pursuant to Federal Rule
in the integrity of the federal habeas              of Civil Procedure, R. 60(b)(2)(3)(5),” see
proceedings.” Gonzalez, 545 U.S. at 532.            Doc. 54, is DENIED.
Thus, the Court has jurisdiction to entertain

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This 6th day of March 2012.

 I)
 B- AVANT
    AVANT EDENFIELØ, JIJDGE
 UN1TBD STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA
